        Case 2:16-cr-00199-JAM Document 31 Filed 11/15/16 Page 1 of 2


 1   Bruce Locke (#177787)

 2   Moss & Locke

 3   4354 Town Center Blvd., #114-59

 4   Eldorado Hills, CA 95762

 5   916-719-3194

 6   Attorneys for Kioni M. Dogan

 7

 8                                  UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES,                                  No. 16-CR-0199 GEB
12                     Plaintiff,
13          v.                                       STIPULATION AND PROPOSED ORDER
                                                     CONTINUING THE STATUS
14   Kioni M. Dogan                                  CONFERENCE SET FOR NOVEMBER 18,
                                                     2016 TO JANUARY 20, 2017 AT 9:00 A.M.
15                     Defendants.
16

17
             IT IS HEREBY STIPULATED AND AGREED between the defendants, Kioni Dogan,
18
     Gloria Harris, and Lavonda Bailey, by and through their undersigned defense counsel, and the
19
     United States of America, by and through its counsel, Assistant U.S. Attorney Jared Dolan, that
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     the status conference presently set for November 18, 2016 at 9:00 a.m., should be continued to
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     January 20, 2017 at 9:00 a.m., and that time under the Speedy Trial Act should be excluded from
22
     November 16, 2016 through January 20, 2017.
23
            The reason for the continuance is that Mr. Locke and other defense counsel have only
24
     recently been appointed in this case and the defense needs additional time to review the discovery
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     and to conduct investigation. The exclusion of time is also necessary to ensure continuity of
26
     counsel. Accordingly, the time between November 16, 2015 and January 20, 2017 should be
27
     excluded from the Speedy Trial calculation pursuant to Title 18, States Code, Section
28
                                                     1
        Case 2:16-cr-00199-JAM Document 31 Filed 11/15/16 Page 2 of 2


 1   3161(h)(7)(B)(iv) and Local Code T-4 for defense preparation. The parties stipulate that the ends

 2   of justice served by granting this continuance outweigh the best interests of the public and the

 3   defendants in a speedy trial. 18 U.S.C. §3161(h)(7)(A). Mr. Dolan, Mr. Foster and Mr. Wilson

 4   have authorized Mr. Locke to sign this pleading for them.

 5   DATED: November 15, 2016                      /s/ Bruce Locke
                                                   BRUCE LOCKE
 6                                                 Attorney for Kioni Dogan
 7
     DATED: November 15, 2016                      /s/ Bruce Locke
 8                                                 For GREGORY FOSTER
                                                   Attorney for Gloria Harris
 9

10   DATED: November 15, 2016                      /s/ Bruce Locke
                                                   For ROBERT WILSON
11                                                 Attorney for LAVONDA BAILEY
12
     DATED: November 15, 2016                      /s/ Bruce Locke
13                                                 For JARED DOLAN
                                                   Attorney for the United States
14

15

16
            The Court finds, for the reasons stated above, that the ends of justice served by granting
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     this continuance outweigh the best interests of the public and the defendants in a speedy trial, and,
18
     therefore.
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            IT IS SO ORDERED.
20
21   Dated: November 15, 2016

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